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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC,

Plaintiff,
Vv.
COB ECOMMERCE EMPIRE LLC
dib/a Keeva Organics, CRAWFORD AND
O’BRIEN LLC, CHARLES CRAWFORD,
MICHAEL O’BRIEN and AMAZON.COM,

INC.,

Defendants.

Case No. 1:18-cv-05622-PKC

NOTICE OF VOLUNTARY
DISMISSAL OF AMAZON.COM, INC.

Plaintiff, Humane Consumer LLC voluntarily dismisses Amazon.com, Inc. from this

action without prejudice pursuant to Fed. R. Civ. P. 41(a)(1). Amazon.com, Inc. has not filed an

answer or a motion for summary judgment in this action. .

Dated: uly 3f, 2018

Res

Ne submitted,
dS pisdol

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